^

                                 UNITED STATES DISTRICT COURT                              U.S. District CourF
                                                                                          .Wisconsin Eastern
                                 EASTERN DISTRICT OF WISCONSIN



    MICHAEL T. DEBRASKA, NANCY A. DALLAS, GLADYS D. DALLAS,                                     FILED
                                                                                             Clerk of Court
    LINDA S. DALLAS, NADINE A. DALLAS, MARGARET R. FERMANICH,
    TKAAUNAK GREEN, LISA M. HILL, CATHY L. METOXEN, AND
    DOROTHY A. SKENANDORE
                   Plaintiffs
                                                                         EXPEDITED TREATMENT
                                                                                   REQUESTED

                                                         PLAINTIFFS' EMERGENCY MOTION
                                                           FOR TEMPORARY RESTRAINING
                                                         ORDER AND PROPOSED ORDER AND
                                                               MEMORANDUM IN SUPPORT

                                                                    TELEPHONIC CONFERENCE
                                                                                        REQUESTED
            vs.

                                                                               CASE NO.
    ONEIDA BUSINESS COMMITTEE,
    ONEIDA ELECTION BOARD, AND                                                      2{)-C
    ONEIDA TRIBE OF WISCONSIN
                   Defendants




           Plaintiffs, through their counsel, respectfully move this Court, pursuant to Fed. R. Civ. P.


    65 and for the reasons contained in the Memorandum of Law being submitted herewith, for an


    emergency temporary restraining order to prevent Oneida Tribe of Wisconsin via the Oneida


    Election Board and Oneida Business Committee from taking their offices as of 27 Aug 2020 at


    5:00 p.m. Defendant will be provided actual notice of this motion.


    WHEREFORE, Plaintiffs respectfully request that this Court issue an emergency temporary


    restraining order mandating that:




                                                                                            Page 1 of 30
            Case 1:20-cv-01321-WCG Filed 08/27/20 Page 1 of 30 Document 2
(1) The ballots from the Oneida Nation of Wisconsin 2020 General Election, including but

    not limited to, regular, spoiled, voided and rejected ballots, shall remained sealed,


    secured, and not destroyed, until this matter is concluded; and


(2) Defendant, Oneida Election Board, shall not forward the Final Report for the Oneida


    Nation of Wisconsin 2020 General Electionheld on Saturday, July 25, 2002, to the

    Defendant Oneida Business Committee Tribal Secretary's Office, as referenced in the


    Oneida Nation of Wisconsin Election Law,until this matter is concluded; and


(3) Defendant, Oneida Business Committee, shall not declare the official results of the


    Oneida Nation of Wisconsin 2020 General Election held on Saturday, July 25, 2002, until


    this matter is concluded; and


(4) The swearing in of any allege winners of the 2020 Oneida Nation of Wisconsin''General t


    Election held on Saturday, July 25, 2020, shall be restrained or stayed until this matter is


    concluded; and


(5) Funding for any legal representation on behalf of the Defendants shall not be paid from

    any funding source(s) of the Oneida Nation of Wisconsin; and


(6) Defendant, Oneida Election Board, shall educate and inform Oneida voters about the


   timeline, process, time and location for voting in the upcoming election; and


(7) Enforcement of every eligible Oneida voters right to vote; and


(8) Proper protective equipment, supplies, etc. for voters and election workers shall be


   provided at all polling sites; and

(9) Oneida Enrollments be present at the polling sites to establish proof of enrollment and


   eligibility




  Case 1:20-cv-01321-WCG Filed 08/27/20 Page 2 of 30 Document 2 Page 2 of 30
(10) Voting identification be provided at the polling sites in a manner consistent with how

      Oneida Enrollments verifies individuals when they check-in and check-out for the


      Oneida Nation's General Tribal Council Meetings; and


(11) Enforcement of all applicable laws that provide for the greatest level of voter


      participation in the voting processes (i.e. elders, disabled, low income, individuals


      with no vehicle to get to the voting polls and/or to participate in the drive-thru, heat/air


      condition to tolerate the weather conditions; and


(12) The Oneida Transit be operational starting an hour before the polls open, throughout


      the time the voting polls are open, and ends when all voters are finish voting and have


      an opportunity to be transported home or a safe location within a distance determined


      by the Oneida General Tribal Council; and

(13) Development and implementation of laws that address lengthy waiting times for each


      method of voting; and

(14) Cease and desist of the following Oneida Business Committee emergency


      amendments:


       a. BC Resolution # 04-08-20-B Placing Listed Boards, Committees and


          Commissions in Temporary Closure Status; and


      b. BC Resolution # 05-13-20-H Adoption of Emergency Amendments to the


          Election Law (Cancellation of Primary Elections)

(15) Oneida Election Board to add put the Boards, Committees and Commissions they

      deleted from the General Election Ballot (i.e. Oneida Nation Commission On Aging,


     Oneida Land Claims Commission) and all of the corresponding candidates that were




  Case 1:20-cv-01321-WCG Filed 08/27/20 Page 3 of 30 Document 2Page 3 of 30
       deemed eligible candidates at the onset of the Oneida Nation of Wisconsin's 2020 Tri-


       Annual General back onto the General Election ballot; and


(16) Oneida Election Board provide accurate and complete ballots for both the primary and


       general election; and


(17) The Oneida Business Committee take action to remove all individuals with a real


       and/or conflict of interest from any involvement in the primary and/or general election


       processes (i.e. election board - regular and alternate members, enrollment personnel,


       police officers, technical assistance providers for computers, setup, etc.; and


(18) Fair and equal access to the polling sites and methods to vote for all eligible voters;


       and


(19) A proper and timely primary election to be conducted within forty-five (45) calendar

      days of the decision or order being made that affords all eligible Oneida Business


      Committee candidates that were listed on the Oneida Nation of Wisconsin 2020


      General Ballot a fair and equal opportunity to win a place on the General Election


      Ballot; and

(20) A proper, fair, equal, and timely General Election with an election ballot reflecting the


      final results of the aforementioned Primary Election; and


(21) The Oneida membership be properly noticed of both the Primary Election and

      subsequent General Election, to include but not limited to, a minimum of a 30 calendar


      day notice of the type of election, correct date, time and location of the polling sites;


      and


(22) Mail-In ballots be mailed to all eligible Oneida voters; and




  Case 1:20-cv-01321-WCG Filed 08/27/20 Page 4 of 30 Document 2 Page 4 of 30
(23) An outside third-party contracted to conduct and oversee the newly authorized primary


       and general elections (i.e League of Women Voters and/or National Guard) from the


      beginning of the process through the end of the process; and


(24) No break in the Chain of Custody of the ballot from the voter to the ballot box when

      in-person and/or drive-through voting is utilized; and


(25) Properly functioning video and audio recording of the entire election process; and


(26) Separation of Powers between the legislative branch of the Oneida Nation of

      Wisconsin- known as the Oneida Legislative Operating Committee, the executive


      branch of the Oneida Nation of Wisconsin - known as the Oneida Business


      Committee, the election branch of the Oneida Nation of Wisconsin - known as the


      Oneida Election Board, the judicial branch of the Oneida Nation - known as the


      Oneida Judiciary; and all elements (both real and perceived) that create conflicts of


      interest and/or impropriety for each and every entity; and


(27) Defendants provide mechanisms that afford the Oneida General Tribal Council (GTC),

      the supreme governing body of the Oneida Nation of Wisconsin pursuant to the


      Oneida Constitution and By-Laws, forms of remedy and redress when the Oneida


      Nation of Wisconsin faces major crisis' similar or equivalent those presented by the


      COVID-19 health and safety pandemic; and

(28) Oneida Election Law appeal time frames be adjusted to afford petitioning parties a

      reasonable, fair and consistent opportunity to exercise and receive due process.




  Case 1:20-cv-01321-WCG Filed 08/27/20 Page 5 of 30 Document 2Page 5 of 30
                                   MEMORANDUM OF LAW



                                     I. INTRODUCTION

        The spread ofCOVID-19 has altered our patterns of life, including the conduct of the


Oneida Nation of Wisconsin's primary and general elections. But this public health crisis must


not also become a crisis for our democracy. Oneida's plans for conducting not conducting a


primary election on Saturday, May 23, 2020 - over admonitions from the Oneida Business


Committee and Oneida Election Board officials that the required steps cannot be completed by


that date - disenfranchised thousands ofOneida voters, in violation of statutory and constitutional


requirements protecting the fundamental right to vote and to participate as a candidate in the


primary and general elections of the Oneida Nation of Wisconsin. These include the requirement


that eligible persons may register to vote at least 30 days before the election, pursuant to Section


8 of the National Voter Registration Act of 19913 ("NVRA"), 52 U.S.C. § 20507 (a)(l), and that

they have sufficient opportunity to cast a ballot in the election, as as guaranteed by the First and


Fourteenth Amendments to the United States Constitution. Emergency relief to protect these


rights is imperative.


        On May 17, 2020, the Oneida Business Committee took action to amend the Oneida


Election Law in a way that provided the Oneida Election Board the ability to cancel a primary.


This action was allegedly taken for health and safety reasons due to COVID-19. On May 19,


2020, the Oneida Election Board took action to cancel the Oneida Nation of Wisconsin 2020


Primary Election. This action was allegedly taken for health and safety reasons due to COVID-


19. On June 22, 2020, Oneida Election Board Interim Chairwoman Twylite Moore stated the


following via live video recording that the Oneida Nation of Wisconsin 2020 Primary Election




      Case 1:20-cv-01321-WCG Filed 08/27/20 Page 6 of 30 Document 2Page 6 of 30
was canceled due to 1) the Oneida Election Board not being able to train the newly appointed


alternates before the properly noticed May 23, 2020 date of the Oneida Nation of Wisconsin


2020 Primary Election; 2) they did not have the ballots yet on May 19, 2020 when they canceled

the primary election; and 3) they did not have the personal protective equipment they wanted for


the voters and election workers for the Oneida Nation of Wisconsin 2020 Primary Election to be


held on Saturday, May 23, 2020 as noticed to the Oneida Nation of Wisconsin membership.


        The Oneida Business Committee acted outside its scope of authority when it took action


to amend the Oneida Election Law in ways that improperly afforded them additional unfair


advantages over the candidates that were competing for their positions as the Oneida Nation of


Wisconsin Chairman, Vice-Chairman, Secretary, Treasurer, and the five At-Large Councilperson


positions on the Oneida Business Committee. To conduct a proper and timely primary increased


the risk of the currently seated Oneida Business Committee Members being eliminated from the


voting process during the Primary Election and/or in the General Election as the Oneida voters


could have voted the incumbents right off the General Election ballot or they could have


unseated the incumbents in the face off of the two candidates for each officer position and the


face off of the fifteen candidates for the five At-Large Councilperson positions. The incumbents


have an unfair advantage with the primary. They have an additional advantage when there is no


primary. It is for these exact reasons that the Oneida General Tribal Council took formal action


during a duly called Oneida General Tribal Council Meeting to incorporate a mandated Primary

Election into the Oneida Election Law, pursuant to Article III, Section 5. Of the Oneida


Constitution and By-Laws of the Oneida Nation of Wisconsin. The intent was to provide every


eligible Oneida enrolled tribal member a fair and equitable opportunity to fun for the Oneida

Business Committee and win any one of the nine positions on the Oneida Business Committee




      Case 1:20-cv-01321-WCG Filed 08/27/20 Page 7 of 30 Document 2 Page 7 of 30
by running for office in the primary, gaming enough votes to advance to the General Election


 and hopefully securing enough votes to win one of the position they competed in a fair,


consistent and equitable manner. Canceling the Primary Election scheduled for Saturday, M.ay


23, 2020, stripped every candidate (excluding the incumbents) of this opportunity. All other

inappropriate actions taken and/or that occurred on Saturday, July 25, 2020, during the General


Election, as stated herein, created hardship and burdens that rendered it impossible for eligible


Oneida voters to vote.


        There are straightforward solutions to the threat ofdisenfranchisement created by the


Oneida Business Committee and Oneida Election Board, solutions that have been implemented


by other states: conduct the primary election properly and in a timely manner, send absentee


ballots to all eligible voters, allow them to register to vote up until the time required by federal


law, schedule the election for a date that allows election officials to educate the public and


conduct the election in an orderly and safe manner, and allow fair, consistent and equitable


methods and options to vote for all Oneida voters (i.e. in-person voting, drive-thm voting, and


absentee vote by mail voting), afford the Oneida voters the means to get to the polls to vote (i.e.


allow the Oneida Transit System to run the day of the election, provide bus passes, organize a


ride-to-the-polls, etc.), set the date for the primary for a date and time when the election workers


will be properly trained, the ballots will be accurate, complete and available, and proper


protective equipment is available for the voters and election workers, the video and audio


equipment is properly installed and functional throughout the election process, establish a


process where the chain of custody of the ballots is not broken, set up enrollment verification at


the polling sites, establish polling sites where there are the largest numbers of eligible Oneida


voters, etc. These are the forms of relief Plaintiffs seek.




       Case 1:20-cv-01321-WCG Filed 08/27/20 Page 8 of 30 Document 2Page 8 of 30
                                II. STATEMENT OF FACTS

 COVID-19 Impact on Oneida Nation of Wisconsin Primary Election


        In the BRIEF IN SUPPORT OF MOTION TO DISMISS, dated August 4, 2020, written

to the Oneida Judiciary by Oneida Law office Attorney Kelly M. McAndrews for the Oneida

Business Committee and Oneida Law Office Attorney Peggy Schneider on behalf of the Oneida


Election Board for the matter of Linda S. Dallas, Cathy L. Metoxen and Margaret R. Fennanich


v. Oneida Business Committee and Oneida Election Board, the Defendants, Case No.: 20-CV-


010, Defendants stated:


        On March 11, 2020, the World Health Organization (WHO) declared COVID-19 a Public

Health Emergency of International Pandemic. Relatedly, on March 12, 2020 the state of


Wisconsin and the Oneida Nation declared their own Public Health State of Emergencies. See


Oneida Nation Declaration of Public Health State of Emergency ("Declaration"), March 12, 2020


(Exhibit A). The Nation's Declaration was intended to address this threat to the public health,

safety, and the well-being of the Oneida Nation community members and employees and to slow


transmission and decrease the spread ofCOVID-19. Id. As a result of the Declaration, the


Nation's fund units were directed to coordinate the use of Tribal resources with and follow the


recommendations of the Nation's Public Health Officer in order to respond to and recover from


the COVID-19 outbreak. Id. See also Oneida Nation Code of Laws, Title 3. Health and Public


Safety - Ch. 302 Emergency Management and Homeland Security law. By way of background,


the Nation's Public Health Officer is broadly designated the authority and responsibilities for

public health preparedness. Id. The Public Health Officer's duties and responsibilities are not the


subject of this action; however, these background facts are necessary to provide context to the


unprecedented and emergency circumstances the Nation has faced and been forced to respond to.




      Case 1:20-cv-01321-WCG Filed 08/27/20 Page 9 of 30 Document 2 Page 9 of 30
The Public Health Officer is a non-political quasijudicial official with the broad authority to

 "require restrictions or take other communicable disease control measures" to limit the spread of


any communicable disease and "act as necessary to protect the public". §302.7. Since COVID-19


is a communicable disease the Public Health Office has informed the Business Committee and


the Nation's Boards, Committees, and Commissions of public health measures necessary to keep


the Oneida Community as safe as possible throughout the CO VID-19 pandemic.


        The Public Health Officer, in conjunction with her responsibilities and in collaboration


with other health professionals, has also provided operational guidance to the Nation's officials


as the have confronted difficult health and safety questions presented by COVID-19. At the April

22, 2020 regular Business Committee Meeting, the Public Health Officer and other health


officials of the Oneida Nation provided a Professional Assessment Duration of COVID-19


Outbreak. See Exhibit B. This professional Assessment was a memorandum from the COVID


Project Team recommending the cancellation of large gatherings, such as in-person voting. The


Professional Assessment recommended the cancellation of "large gatherings events in the next 3


to 6 months such as conferences, meetings, in person elections and trainings." Id.


       Even prior to the full effect of the pandemic becoming realized, the Election Board was


already facing a difficult situation. By early March 2020, the Board members recognized that


most regular Election Board members would be required to recuse themselves and no one was


applying to be alternates. See March 4, 2020 Election Board Minutes, Exhibit C. Additionally,


with specific information regarding COVID-19 known, including its easy transmissibility,


community spread, and the potential for severe health impacts, the Election Board was in an


untenable situation. For example: https://wwwcdc.gov/coronavirus/2019-ncov/downloads/Mass-


Gatherings-Document_FINAL.pdf (04/05/2020)(01der adults and persons with severe




     Case 1:20-cv-01321-WCG Filed 08/27/20 Page 10 of 30 Document Page
                                                                  2 10 of 30
underlying health conditions [ ] are considered to be at increased risk of more serious illness after


contracting COVID-19. Priority should be given to ensuring the safety of these groups of people,


particularly for any mass gatherings that are expected to have a large number of adults or person


with underlying conditions.") Not only were mass gatherings contrary to the public health


recommendations, but volunteers would knowingly be placing themselves in a position where


they may be exposed to COVID-19 and become ill (possibly seriously). On March 13, 2020, the


day after the Nation issued its Declaration, the Business Committee and Election Board meet to


discuss the Election Board's concerns regarding COVID-19 and the election timeline. Alternative


scenarios for conducting the election had to be explored. See March 13, 2020 Business


Committee and Election Board Minutes, Exhibit D.


       After the Nation issued the Declaration, the pandemic (and response measures) continued


to rapidly evolve. Like most governments and businesses, the Nation began to urge its citizens to


stay home (and use other safe hygiene practices) and emergency measures were taking an effort


to slow the spread ofCOVID-19. For example April 1, 2020 joint press statement of the Oneida


Nation Health Department, DePere Health Department, and Brown County Health Human


Services (urging "residents to stay at home unless it is absolutely necessary [and] to avoid


contact with other people in the community") Exhibit E. To protect the Oneida Community from


COVID-19 the Nation's emergency response was serious and widespread - for example, the


Judiciary implemented emergency temporary measures (including restricting in-person


hearings), the Public Health Officer discouraged unnecessary travel (see March 18, 2020 Notice


to the Oneida Community, Exhibit F), schools closed, and even the Nation's gaming operations


were closed. Seehhtps://0neida-nsn.sov/blos/2020/03/16/0neida-)wtion-prosram-closures-


and-event-cancellat.ions/ (a more comprehensive list of the Nation's closures and event




      Case 1:20-cv-01321-WCG Filed 08/27/20 Page 11 of 30 DocumentPage
                                                                   2 11 of 30
 cancelations). On March 24, 2020 the Nation's Safer at Home Order was issued. Exhibit G. This


 Order formalized the Nation's efforts to slow the spread ofCOVID-19 by defined essential


 activities, limiting non-essential activities, and encouraging individuals and employees to stay


home when possible. Still, by April 2, 2020, the Nation had already experienced it's second


known case ofCOVID-19. Exhibit H.


        Oneida Nation had a concerning increase in COVID-19 cases in July 2020. On July 7,


2020 the Oneida Nation had 50 positive cases. By July 21, 2020 Oneida Nation had 71 positive

cases with 16 individuals in active isolation. The rise in cases necessitated the Oneida Public


Health Officer's July 22, 2020 Public Health Findings and Order (This Order broadly mandates

face coverings and prohibits mass gatherings of a certain threshold), Exhibit I. Since the issuance


of the Nation's first Declaration and Safer at Home Order, both been continually extended and


are still in effect. >S'eehttps://Oneida-nsn.gov/connect/news/oneida-nation-covid-19-resource-


page/ (which contains the various extensions enacted). The most recent extension of the Nation's


Declaration occurred on July 8, 2020 and it is currently in effect until August 11, 2020 ("[T]he

Emergency Management Director and the Public Health Officer have advised extension of the


emergency declaration supported by information from the Centers for Disease Control and the


level of spread ofCOVID-19 throughout the State of Wisconsin, surrounding states, and the


United States.") Exhibit J.


       As a result of the pandemic and public health crisis facing the world, the Business


Committee was forced to take several emergency legislative actions. Specific to the current


claim, the Business Committee was forced to adopt emergency amendments to the Nation's


Election Law. The Election Board requested and the Business Committee adopted amendments


that preserved the July General Election, as required by the Oneida Constitution, while




     Case 1:20-cv-01321-WCG Filed 08/27/20 Page 12 of 30 Document Page
                                                                  2 12 of 30
minimizing contact between individuals that could unnecessarily spread COVID-19.


 Specifically, emergency amendments to the Election Law did the following: eliminated the


caucus and signature requirements for candidates to get on the ballot; allowed the Election Board


to cancel the Primary Election when large gatherings would present a substantial risk to the


health and safety of the Nation's citizens; and allowed the election to take place at a larger


Oneida Nation facility, to allow the possibility of outdoor, drive-through voting. These changes


also allowed the Election Board time to determine the necessary safety protocols for a safe vote


and acquire the equipment needed to conduct the vote (masks, hand sanitizer, etc.)


       Pursuant to the Oneida Constitution and By-Laws, Article II - Governing Body,Section


5., "The officials provided for in Section 3 of this Article shall be elected every three years in the


month of July on a date set by the General Tribal Council. The General Tribal Council shall


enact necessary rules and regulations governing the elections of tribal officials.


       On January 20, 2020, the Oneida General Tribal Council took official action during the

Annual Oneida General Tribal Council Meeting to set the 2020 General Election date to be


Saturday, July 4, 2020. Shortly after, the Oneida Election Board took official action to set the


2020 General Election Caucus for Saturday, March 14, 2020.


       On March 4, 2020, per Oneida Election Board Meeting Minutes, "Motion by M.elinda


Danforth to approve SEOTS building and Oneida Community Health Center as the polling sites


for the 2020 Primaiy and General Election and to have Chair or Designee resen'e those places -


carried unanimously."


       On March 4, 2020, per Oneida Election Board Meeting Minutes, "M.otion by Melinda


Danforth to approve up to six (6) Oneicla Election Board members, one (1) officer from OPD,

and one (1) Enrollments employee to go to SEOTSfor the 2020 Primcny and General Election




      Case 1:20-cv-01321-WCG Filed 08/27/20 Page 13 of 30 DocumentPage
                                                                   2 13 of 30
 and for Chair or Designee to send the agenda request to the Oneicla Business Committee -


 carried unanimously."


        On March 4, 2020, per Oneida Election Board Meeting Minutes, "Motion by Racquel Hill


to have Chair or Designee to bring to the attention of the BC Liaisons the concerns and the


possibility of not being able to hold an election due to the number ofrecusals, no one is


applying to be alternates, can we rescheduled or what the alternatives may be to send by Friday,


March 6, 2020 - carried unanimously."


        On or about March 11, 2020, the Oneida Business Committee adopted OBC Resolution #


03-11-20-B Boards, Committees, and Commission Law Emergency Amendments.


        On or about March 12, 2020, Tehassi (Ronald) Hill, Jr. signed a "Declaration of Public


Health State of Emergency" regarding COVID-19.


        On March 13, 2020, per the Oneida Election Board and Oneida Business Committee


Meeting Agenda/Minutes, the joint meeting started at 9:02 AM. The Oneida Business Committee


and Oneida Business Committee collaborated until 9:30 AM, regarding cancellation of the 2020


Primary Election and changing the Oneida General Election date.


       On March 13, 2020, per the Oneida Nation Notice Posted by Nate Wisneski, the Oneida


Election Board took official action to postpone the 2020 General Election Caucus scheduled for


March 14, 2020, in an effort to prevent the spread ofCOVID-19.


       On March 16, 2020 (two days after the caucus was scheduled to occur), the Oneida


Election Board met regarding the next steps for the 2020 General Election and the COVID-19


pandemic, per Memorandum dated March 19, 2020, RE: COVID-19 and 2020 General Election.


       On March 17, 2020, the Oneida Election Board identified that conducting a caucus or


requiring applicants to obtain 10 signatures through the petition process would unnecessarily




      Case 1:20-cv-01321-WCG Filed 08/27/20 Page 14 of 30 DocumentPage
                                                                   2 14 of 30
 spread the virus by encouraging contact between individuals, but has expressed a strong desire to


avoid moving the actual election dates.(14th WHEREAS in the BC Resolution 03-17-20-B)


          On March 17, 2020, the Oneida Business Committee via BC Resolution 03-17-20-B,


adopted emergency amendments to the Election Law to implement alternative processes to


address COVID-19 pandemic impacts on the Oneida Nation 2020 General Election. The


alternative processes eliminated the caucus process completely and eliminated the need for


prospective candidates to petition to be placed on the ballot by way of filling out a petition form


and obtaining no less than ten (10) signatures of qualified voters as defined by the Oneida


Election Law at that point in time. BC Resolution 03-17-20-B mandated prospective candidates


to apply to be placed on a ballot according to the process now identified in 102.6-1. of the


amended Oneida Election Law.


          On or about March 17, 2020, the Oneida Business Committee adopted OBC Resolution #


03-17-20-C Adoption of Emergency Amendments to the Boards, Committees, and Commission


Law to Address COVID-19 Pandemic Impacts on Boards, Committees, and Commission of the


Nation.


          On or about March 17, 2020, the Oneida Business Committee adopted OBC Resolution #


03-17-20-D Amending Resolution BC-05-08-19 B Boards, Committees, and Commission Law


Stipends.


          On or about March 17, 2020, the Oneida Business Committee adopted OBC Resolution #


03-17-20-B Adoption of Emergency Amendments to Election Law to Implement Alternative


Processes to Address COVID-19 Pandemic Impacts on the Oneida Nation 2020 General


Election. The 14th WHEREAS of the amendment states, "the Oneida Election Board has


identified that conducting a caucus or requiring applicants to obtain 10 signatures through the




       Case 1:20-cv-01321-WCG Filed 08/27/20 Page 15 of 30 DocumentPage
                                                                    2 15 of 30
petition process would unnecessarily spread the virus by encouraging contact bet\veen


individuals, but has expressed a strong desire to avoid moving the actual election dates." The


 15 WHEREAS states, "The Oneida Election Board is actively monitoring the public health


crises and will notify membership as soon as possible should the election days be canceled,


postponed or polling processes be amended to reduce the spread of the virus,"


        In a Memorandum dated March 19, 2020, Oneida Election Board Chairperson Vicki


Cornelius stated the Oneida Election Board met on March 16, 2020, and determined that


prospective candidates could pick up an Application for Elected Positions Forms starting


Monday, March 23, 2020, and applications would be accepted Monday, April 20, 2020 through


Friday, April 24, 2020, in the BC Support Office located on the first floor of the Norbert Hill

Center, during the Nation's business hours.


        In a Memorandum dated March 19, 2020, Oneida Election Board Chairperson Vicki


Cornelius stated the Oneida Election Board met on March 16, 2020, and determined tentatively


the 2020 General Election Primary will be rescheduled to May 23, 2020, and the 2020 General

Election is rescheduled to Saturday, July 25,2020.


        In a Memorandum dated March 19, 2020, Oneida Election Board Chairperson Vicki


Cornelius stated "According to the Election Law, 102.12-8. In the event of an emergency, the


Election Board may reschedule the election, provided that no less than twenty-four (24) hours'


notice of the rescheduled election date is given to voters, by posting notices in the prominent


locations."


       On or about March 19, 2020, COVID-19 Core Decision Making Team Declaration


Suspension of all Non-Emergent Expenses & Stipends and Activity by Certain Boards,


Committees and Commissions




       Case 1:20-cv-01321-WCG Filed 08/27/20 Page 16 of 30 DocumentPage
                                                                    2 16 of 30
       On or about March 26, 2020, the Oneida Business Committee took action to extend the


Public Health State of Emergency Declaration for an additional 30 days beginning April 12,

2020, and ending at 1 1:59 p.m. on May 12,2020.


       On or about April 8, 2020,the Oneida Business Committee adopted OBC Resolution #


04-08-20-B Placing Boards, Committees, and Commission in Temporary Closure Status.


       Sometime between April 8, 2020 and June 30, 2020, the Oneida Election Board removed


certain of boards, committees and commissions off the Oneida General Election Ballot for


Saturday, July 25, 2020.


       On April 8, 2020, the Oneida Business Committee via BC Resolution 04-08-20-B,


directed that the following boards, committees, and commissions were placed on temporary


closure for the remainder of Fiscal Year2020 and during any continuing resolution for Fiscal


Year 2021.


       1. Oneida Community Library Board;

       2. Oneida Environmental Resources Board;

       3. Oneida Nation Arts Board;

       4. Oneida Nation Veterans Affairs Committee;

       5. Oneida Personnel Commission;

       6. Oneida Pow Wow Committee;

       7. Pardon and Forgiveness Screening Committee;

       8. Southeast Wisconsin Oneida Tribal Social Services Advisory Board;

       9. Oneida Land Claims Commission; and

       10. Oneida Nation Commission on Aging




      NOTE: The Oneida Land Claims Commission and Oneida Nation Commission on Aging


      were originally on the 2020 General Election ballot.




      Case 1:20-cv-01321-WCG Filed 08/27/20 Page 17 of 30 DocumentPage
                                                                   2 17 of 30
        The Oneida Nation of Wisconsin 2020 Election Board Members are posted on the Oneida


Election Board's Facebook page. It identifies Tracy L. Smith as the Oneida Election Board


Secretary, and Christina "Chrissy" Liggins as the Oneida Election Board Vice-Chairwoman.


        On April 27, 2020, the Oneida Election Board took action to cancel the 2020 General

Election Primary, allegedly due to the COVID-19 Public Health Emergency, by way of the

following motion:


           "Motion by Racquel Hill for Chair or Designee to submit a BC agenda request to


           have them make an amendment to the Election Law removing the Primary for the


           health and safety for all those involved and to start a dialogue with the Business


           Committee about July election plans and tentatively changing the date, seconded by


           Patricia Moore.


               Ayes: M.elinda K. Danforth, Racquel Hill, Lisa John, Christina Liggins, Shannon


               Metoxen, Patricia Moore, Tina Skenandore, Tracy Smith"




       The Oneida Election Board records show Tracy L. Smith, Oneida Election Board


Secretary, and Christina "Chrissy" Liggins, Oneida Election Board Vice-Chairwoman, both


participated in Election Board matters after they submitted their Election Applications to run for


the Oneida Election Board on or about April 24, 2020.Therefore, the Oneida Election Board


allowed Tracy and Chrissy to actively participate in Oneida Board matters after they submitted


their Election Applications to run for the Oneida Election Board.


       • The records show they were both candidates after April 24,2020.


       • The record shows they both voted on April 27, 2020, to cancel the 2020 General


           Election Primary, allegedly due to the COVID-19 Public Health Emergency.




      Case 1:20-cv-01321-WCG Filed 08/27/20 Page 18 of 30 DocumentPage
                                                                   2 18 of 30
       • The records show they both remained on the Oneida Nation 2020 General Election


           Ballot as candidates to be elected to the Oneida Election Board.


       • The Oneida Election Board, Smith and Liggins are all in violation of multiple tribal

           laws, policies, and procedures.


       On or about May 6, 2020, the Oneida Business Committee took action to extend the


Public Health State of Emergency Declaration for an additional 30 days beginning May 12, 2020

and ending at 11:59 p.m. on June 11,2020.


       On May 12, 2020, in a Memorandum dated May 12, 2020, written to the Legislative


Operating, RE: Reconsideration of Election Law Amendments, Oneida Election Board Interim


Chairwoman Shannon Metoxen requested the Legislative Operating Committee to reconsider the


amendments submitted and either:


   1. Remove the Primary from the law as was originally requested by the OEB; or


   2. Provide the OEB the authority to cancel the primary.




      NOTE: The Oneida Legislative Operating Committee (OLOC) consists of five

      members. All five members are Oneida Business Committee IVIembers. These five


      (OLOC) members create the laws and then send the laws they created to the Oneida


      Business Committee for approval. The same five OLOC members then switch their


      legislator hats and act in their executive capacity as Oneida Business Committee


      Members and approve the legislation they created.




                                                                                  Page 19 of 30
      Case 1:20-cv-01321-WCG Filed 08/27/20 Page 19 of 30 Document 2
      On or about May 13, 2020, the Oneida Business Committee adopted OBC Resolution #


05-13-20-H Adoption of Emergency Amendment to the Election Law.


      • The 15th WHEREAS states "the Oneida Election Board has requested emergency


          amendments to the Election law to address the impact ofCOVID-19 on the Nation."


      • The 16 WHEREAS states "the proposed emergency amendments to the Law allow


          the Election Board to cancel the primary election when large gatherings of people


         present a substantial risk to the health and safety of the Nation's citizens."


      • The 17 WHEREAS states "the proposed emergency amendments to the Law clarify


         that if a primary election is canceled then all eligible candidates shall be placed on


         the ballot for the General Election."


      • The 18th WHEREAS states "the Legislative Procedures Act authorizes the Oneida


         Business Committee to enact legislation on an emergency basis, to be in effect for a


         period of six (6) months, renewable for an additional six (6) months."


      • The 19 WHEREAS states, "emergency adoption of legislation is allowed when


         legislation is necesswyfor the immediate preservation of the public health, safety, or


         general welfare of the Reservation population, and the amendment of the legislation


         is required sooner than would be possible under the Legislative Procedures Act."


      • The 20th WHEREAS states, "the emergency adoption of these amendments to the Law


         are necessary for the presen'ation of the public health, safety, and general welfare of


         the Resen'ation population to protect the Reservation population against the public


         health crisis that is the COVID-19 pandemic since the elimination of the requirement


         to hold a primary election while allowing those individuals who applied to be placed


         on the ballot for the General Election, as long as all eligibility requirements are met,



                                                                                      Page 20 of 30
     Case 1:20-cv-01321-WCG Filed 08/27/20 Page 20 of 30 Document 2
             will eliminate any unnecessaiy contact between individuals which could spread


             COVID-19; and BC Resolution 05-13-20-H Adoption of Emergency Amendments to


             the Election Law."


       • The 21 WHEREAS states, "'observance of the requirements under the Legislative


             Procedures Act for adoption of this amendment would be contrwy to public interest


             since theprimaiy election at is required to occur at least sixty (60) calendar clays


             prior to the General Election, which is tentatively scheduled for July 25, 2020, and


             the process and requirements of the Legislative Procedures Act cannot be completed


             in time to ensure that the General Election could still occur on July 25, 2020, without


             violating theprimwy election procedures contained in the Election law."




       On or about May 15, 2020, the Oneida Business Committee met to discuss the Oneida


Election Boards request "to make an amendment to the Election Law, temporarily removing


102.12-2 due to the Public Health Emergency" submitted by Shannon Metoxex, Election Board


Interim Chairwoman.


       In a notice to Tribal Members, dated May 20, 2020, the Oneida Election Board stated the


following:




       Dear Tribal Member,




       We are providing this notice as an update on the status of the upcoming 2020 General


       Election, which was anticipated to be held on Saturday, May 23, 2020. On May 19, 2020




      Case 1:20-cv-01321-WCG Filed 08/27/20 Page 21 of 30 DocumentPage
                                                                   2 21 of 30
       the Oneida Election Board took action to cancel the 2020 Primary Election in accordance


       with the Election Law.




       "102.12-2. Cancelation of a Primary Election. A primary election for Business


       Committee positions may be canceled in the following circumstances:


               (a) The Election Board shall cancel the primary election if the Business

               Committee positions did not draw the requisite number of candidates for a


              primary.


               (b) The Election Board may cancel the primary election when large gatherings of


              people present a substantial risk to the health and safety of the Nation's citizens.


                      (1) In the event the Election Board cancels the primary election, all


                      candidates that are determined eligible according to section 102.5 and are


                      not made ineligible under section 102.6-2 shall be placed on the ballot for


                      the general election."




       In addition to consulting with experts, the following documents assisted in our


decision-making:




   • "Professional Assessment Duration of COVID 19 Outbreak" dated April 16, 2020

   • Legal opinion regarding "Constitutional Meetings; Elections - CO VID-19 Pandemic"


      date April 22, 2020

   • BC Resolution #05-06-20-A Extension of Declaration of Public Health State of


      Emergency until June 11, 2020.




                                                                                      Page 22 of 30
      Case 1:20-cv-01321-WCG Filed 08/27/20 Page 22 of 30 Document 2
       The Election Board is continuing to monitor the situation and are discussing options to


       protect the health and safety of the membership for the 2020 General Election.




       The General Election is tentatively scheduled for Saturday, July 25, 2020 in accordance


       with the Oneida Nation Constitution.




       Sincerely, Oneida Election Board




The following items were included with the Oneida Election Board's Primary Election


Cancellation Notice:




   • Report to COVID CORE TEAM, Regarding Professional Assessment Duration of


       COVID19 Outbreak, dated Thursday, April 16, 2020 {which was dated thirty-eight (38)

       days prior to the Oneida Primary Election scheduled for Saturday, May 23, 2020). They


       used it to justify their decision to cancel the Oneida Primary Election scheduled for


       Saturday, May 23, 2020

   • Flyer - SaferAtHome YES, IT'S WORKING!

   • MEMORANDUM to Oneida Business Committee, from Jo Anne House, Chief Counsel,


       dated April 22, 2020, Subject: Opinion - Constitutional Meetings; Elections - COVID-19

       Pandemic


   • BC Resolution # 05-06-20-A Extension of Declaration of Public Health State of


      Emergency Until June 11, 2020



                                                                                      Page 23 of 30
      Case 1:20-cv-01321-WCG Filed 08/27/20 Page 23 of 30 Document 2
        Shortly after May 20,2020, the Oneida Election Board sent out a flyer stating

*NOTICE* 2020 PRIMARY ELECTION CANCELED and a *NOTICE* 2020 GENERAL

ELECTION SCHEDULED FOR: Saturday, July 25, 2020 7 a.m. -7 p.m.


       On or about June 10, 2020, the Oneida Business Committee took action to extend the


Public Health State of Emergency Declaration for an additional 30 days beginning June 12,


2020, and ending at 11:59 p.m. on July 12, 2020.


       On or about July 8, 2020, the Oneida Business Committee took action to extend the


Public Health State of Emergency Declaration ending at 11:59 p.m. on August 11, 2020.


        On or about June 24, 2020, the Oneida Business Committee adopted OB C Resolution #


06-24-20-B Adoption of Additional Emergency Amendments to the Election Law.


       • The 12th WHEREAS states, "the Oneida Election Board has requested emergency


           amendments to the Election law to address the impact ofCOVID-19 on the Nation'".


       • The 13' WHEREAS states, "the proposed emergency amendment to the Law


          provides that elections shall be held at an Oneida Nation facility, as opposed to in an


           Oneida Nation facility, to allow the potential for outdoor, drive-through voting."




       On Monday, June 22, 2020, in a VIDEO - Oneida Nation (LIVE), CoVID-19 Update,

Twylite Moore, Oneida Election Board Interim Chairwoman, stated [in part] the following


(LINK - https://www.facebook.com/OneidaNationWI/videos/1594008057444933/ - begins 3

minutes and 44 seconds into the video recording):




                                                                                      Page 24 of 30
      Case 1:20-cv-01321-WCG Filed 08/27/20 Page 24 of 30 Document 2
"The Oneida Election Board canceled the primary due to the CoVID-19 pandemic occurring and


with the recusals of the Board and new appointments it was physically impossible for us to safely


conduct a primcny at that time. There was just not the PPE that we needed, we didn 't have the


ballots. There was a number of challenges that just made it physically impossible for us to


conduct that print aiy. I believe that some of our officers, I mean board members took their oaths


of office on Wednesday. There was an emergency meeting held that night, and another meeting


held the next day with regard to that primary specifically. It was a very short, we literally had


about 3 days to get the primary conducted if we were going to movefor^'ard with it. And it


wasn 't able to happen. So I want to assure the membership that we did that with great respect


for the process and understanding how that was going to affect the election. Also there will be


two (2) voting procedures requiring eveiyone to wear masks, both voters and Election Board.


The Board has not determined hours for elders. There will be a 6ft to 10ft distancing


requirement. Drive through voters will be allowed. Election Board M^embers consist of the


following:

    > Twylite Moore, Interim Chair


   > Margaret King, Interim Vice-Chair


   > Patricia Moore, Secretary


    > Steve Webster


    > LisaDuff

    > Terry Thomas


    > Kimberly Ninham

    > William Cornelius




                                                                                       Page 25 of 30
       Case 1:20-cv-01321-WCG Filed 08/27/20 Page 25 of 30 Document 2
        Twylite Moore stated the Oneida Election Board considered mailed out/in ballots but


declined due to time constraints and the approximate cost of $5,000 to mail the ballot to all


eligible voters.


        In addition to both real and perceived impropriety, Oneida Election Board Members are


major Conflicts of Interest exist both internally within the Oneida Election Board and with


Oneida General Election Candidates as follows:




   > Twylite Moore, Oneida Election Board Interim Chairwoman, and Patricia Moore, Oneida


       Election Board Secretary, have an immediate familial relationship. Patricia is Twylite's


       mother. Twylite is Patricia's daughter.


   > Margaret King (Francor), Oneida Election Board Interim Vice-Chairwoman, and current


       Oneida Business Committee Member and currently a candidate on the 2020 Oneida


       General Election ballot, Daniel Guzman have an immediate familial relationship.


       Daniel's mother Joyce is Margaret's older sister. Margaret is Daniel's aunt. Daniel is


       Margaret's nephew.


   > Steve Webster is a former employee of the current Oneida Business Committee. Steve


       worked for the current Oneida Tribal Secretary Lisa M.. Summers' office and the current


       Oneida Business Committee Members (Tehassi (Ronald) Hill for Chairman, Jr., Brandon


       Yellow-Bird Stevens for Vice-Chairman, Patricia ("Trish") Farmer-King for Tribal


       Secretary, and Jennifer McLester-Webster, David "Fleet" Jordan, Kirby Metoxen,


       Earnest Stevens III, and Daniel King-Guzman for the five (5) at-large council person


       positions, whom are all currently Oneida Business Committee candidates on the ballot.


       Lisa M. Summers is currently a candidate on the 2020 Oneida General Election ballot for




                                                                                      Page 26 of 30
       Case 1:20-cv-01321-WCG Filed 08/27/20 Page 26 of 30 Document 2
        the Oneida Trust and Enrollment Committee. All current Oneida Business Committee


        Members are seeking re-election as candidates in the 2020 Oneida General Election.


    > William Cornelius is the former attorney for the Oneida Gaming Commission. There is a


        vacancy open for the Oneida Gaming Commission. That vacancy will be filled via the


        outcome ofOneida General Election. Matthew W. Denny is a former Oneida Gaming


        Commission and currently a candidate for the Oneida Gaming Commission.


    > William Cornelius is also a family member to cun-ent Oneida General Election candidates


        Tehassi (Ronald) Hill, Jr. for Oneida Tribal Chairman; Latsiklanunha (Last!) Hill, Kirby

        Metoxen, and Cathy L. Metoxen, all of whom are running for the five (5) at-large Oneida


        Business Committee Council Person positions.


    > William Cornelius is also a family member to current Oneida General Election candidate


        Layatalati Hill (Chief Trial Judge Candidate) and Diane R. Danforth-House (Court of

        Appeals Judge candidate), both of whom are on the election ballot for Oneida Judiciary


        positions.


    > William Cornelius' grandmother Dellora R. Cornelius is on the Oneida General Election


        ballot as a candidate for the Oneida Nation Commission on Aging position.




        The action of the Oneida Business Committee on Resolution 5-13-20-H, is emergency


action to eliminate the requirement to hold a primary election while allowing those individuals


who applied to be placed on the ballot for the general election as long as all eligibility

requirements are met, will eliminate any unnecessary contact between individuals which could


spread COVID-19, allegedly due to the COVID-19 pandemic and for health and safety reasons.


However, the spread of the COVID-19 virus was nearly none existent within the Oneida Nation




                                                                                         Page 27 of 30
        Case 1:20-cv-01321-WCG Filed 08/27/20 Page 27 of 30 Document 2
of Wisconsin reservation boundaries before, close to and the day of the Primary Election


scheduled to take place on Saturday, May 23, 2020, and they cancel the Primary Election.


However, the spread of the CO VID-19 virus was substantially existent and progressively getting


worse within the Oneida Nation of Wisconsin reservation boundaries before, close to and the day


of the General Election on Saturday, July 25, 2020, yet the Oneida Election Board did not cancel


the General Election scheduled for Saturday, July 25, 2020. The Oneida Election Board did not


seek emergency amendments to the Oneida Election Law from the Oneida Legislative Operating


Committee and/or the Oneida Business Committee. Nor did the Oneida Election Board or the


Oneida Business Committee seek any form of assistance or remedy through the Oneida Judiciary


to change the date. Instead, they acted contrary to all of the reasons they allegedly canceled the


Primary Election, allegedly in the name of protecting the health, safety and wellbeing of the


Oneida people, community and employment sector - and held the General Election in the midst


of the worst part of the CO VID-19 pandemic for the Oneida Nation at that point in time.


Therefore, the Plaintiffs assert the cancelling of the Primary Election was done maliciously,


willfully, with ill-will and in bad faith, and to give themselves (the Oneida Business Committee)

a greater and far more advantageous advantage over their competitors). The Oneida Business


Committee, especially when they are all candidates in the election process, should not be


involved in any actions that negatively impact the elections - especially when the results are


swayed in their favor.


       The Oneida Business Committee and the Oneida Election Board would like its Oneida


people, the voters, and the world at large to believe they canceled the Oneida Primary Election


due to the COVID-19 pandemic and for the health and safety of the voters and election workers.


When in fact the Oneida Business Committee and Oneida Election Board conspired to defraud




                                                                                       Page 28 of 30
       Case 1:20-cv-01321-WCG Filed 08/27/20 Page 28 of 30 Document 2
and suppress the Oneida voters of their right to vote in the Primary Election as a means to reduce


the number of candidates competing for three of the four Oneida Business Committee Officer


positions and the five Oneida Business Committee At-Large positions in order to provide a fair


and equitable opportunity for every challenging candidate to potentially win or turn over an


incumbent seat. BASED ON THEIR LOGIC ...


         THE INTENT WAS TO SUPPRESS THE VOTERS AND MAINTAIN STATUS QUO!

The only way to rectify the matter and make all Oneida voters and candidates whole (as if the


violations never happened) is to stop the swearing in, and hold a Primary Election, followed by


a General Election based upon the results of the Primary Election. Only two of the non-


incumbents were elected.


         If the COVID-19 pandemic was so serious the Oneida Nation would not have had its gas


stations open to the public. If the COVID-19 pandemic was so serious that they had to cancel the


Primary Election scheduled for Saturday, May 23, 2020, why did the Oneida Nation announce its


reopening of its business to the public on May 20, 2020 - two days prior to the Primary Election.


If the COVID-19 pandemic was so serious the Oneida Nation would not have reopened its


gaming operations on May 26, 2020, three days after the Primary Election was scheduled to take


place.


         When in fact the rise of the case was two days before the General Election. The health


and safety circumstances only worsened for the General Election held on Saturday, July 25,


2020, yet the General Election was not canceled. The did not exercise their ability and right to


reschedule the cancel General Election. It was not for health and safety reasons. I was just a


smoke screen to suppress the voters and control the outcome of the elections.




                                                                                       Page 29 of 30
         Case 1:20-cv-01321-WCG Filed 08/27/20 Page 29 of 30 Document 2
       The Oneida General Tribal Council had set precedence regarding constitutional changes


when they allowed the constitutionally mandated Annual GTC meeting to be rescheduled


repeatedly due to weather conditions that threatened the health, safety and wellbeing of the GTC


if they were to proceed as required by the constihition. Also the Oneida Election Board took it


upon themselves to change the election date.




                                  ^^2 ^.&-^-




                                                                                     Page 30 of 30
       Case 1:20-cv-01321-WCG Filed 08/27/20 Page 30 of 30 Document 2
